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VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED BY
AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF DEALING
AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS
H. COMMON LAW CONTRIBUTION CLAIMS
     During the course of the Investigation, it was asserted that ResCap may have a right of contribution
against (1) Ally Bank with respect to representation and warranty claims; and (2) AFI with respect to
federal securities violations. The Examiner also considered whether ResCap may have a claim for
contribution against AFI with respect to payments made under the DOJ/AG Consent Judgment.
     Very generally, there are two primary prerequisites for a claim for contribution: (1) a situation in
which the party seeking contribution and the party or parties from whom contribution is being sought
share some liability or burden; and (2) the party seeking contribution has discharged more than its fair
share of the liability or burden.
     1. Choice-Of-Law
     A bankruptcy court confronting state law claims is to apply the choice-of-law rules of the state in
which it sits.1 Given that the Bankruptcy Court sits in New York, the Examiner applied New York’s
choice-of-law rules to determine the governing law for potential contribution claims.
              a. Does An Actual Conflict-Of-Law Exist Between New York Law And The Laws Of Other
                 Interested Jurisdictions?
     “The first step of New York’s choice-of-law rules is to determine whether there is an actual conflict
between the laws of the jurisdictions involved.”2 In this case, jurisdictions that are potentially interested
in one or more of the transactions investigated by the Examiner include Michigan,3 Minnesota,4 New
York,5 and Pennsylvania.6
1   See Statek Corp. v. Dev. Specialists, Inc. (In re Coudert Bros. LLP), 673 F.3d 180, 186 (2d Cir. 2012) (“It is well established
    that a federal court sitting in diversity must generally apply the choice-of-law rules of the state in which it sits. And it is now
    well established that a bankruptcy court must also apply state choice of law rules.”); Bianco v. Erkins (In re Gaston & Snow),
    243 F.3d 599, 601–02 (2d Cir. 2001) (“bankruptcy courts confronting state law claims that do not implicate federal policy
    concerns should apply the choice-of-law rules of the forum state.”); In re PSINet Inc., 268 B.R. 358, 376 (Bankr. S.D.N.Y.
    2001) (“Where, as here, this Court’s subject matter jurisdiction is based on 28 U.S.C. § 1334, the Court applies, with respect
    to matters of state law, the conflicts of law principles of the forum state, i.e., the State of New York.”).
2   Paradigm BioDevices, Inc. v. Viscogliosi Bros., LLC, 842 F. Supp. 2d 661, 665 (S.D.N.Y. 2012) (citing Drenis v.
    Haligiannis, 452 F. Supp. 2d 418, 426 (S.D.N.Y.2006)) (quoting In the Matter of Allstate Ins. Co., 613 N.E.2d 936
    (NY 1993)). If there is no actual conflict between the laws of the jurisdictions involved, a court may avoid the choice-of-
    law analysis. Curley v. AMR Corp., 153 F.3d 5, 12 (2d Cir. 1998) (citing Matter of Allstate Ins. Co., 613 N.E.2d at 937).
3   AFI’s principal place of business is located in Michigan.
4   ResCap’s principal place of business is located in Minnesota.
5   In the First Day Affidavit, the Debtors stated that ResCap “maintains its headquarters at its New York office located at
    1177 Avenue of the Americas, New York, New York 10036.” First Day Affidavit at 3. The Debtors further stated that
    “the New York office has served as the primary office for the senior executives and core management team of the largest
    operating Debtors—ResCap, Residential Funding Company LLC . . . and GMAC Mortgage, LLC.” Id.
6   Ally Bank and GMAC Mortgage’s principal place of business is in Pennsylvania.

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      Under Pennsylvania,7 Minnesota,8 and Michigan9 law, a common law claim for contribution may
only be asserted against a tortfeasor who shares a common liability to the injured party. In contrast,
under New York law, a tortfeasor may assert a claim for contribution against another entity that is not
liable to the injured party. It is “well established” in New York that a tortfeasor “may seek contribution
from a third party even if the injured party has no direct right of recovery against that party” provided
that “there has been a breach of duty that runs from the contributor to the defendant who has been held
liable” and that breach “had a part in causing or augmenting the injury for which contribution is
sought.”10 This rule reflects New York’s expansive approach to permitting contribution claims
regardless of whether the injured party chose to sue a potential defendant or whether such action may
have been barred against such defendant because of substantive or procedural rules.11 Accordingly, the



7    See 42 PA. CONS. STAT. § 8321. Pennsylvania has adopted the Uniform Contribution Among Tortfeasors Act (1939). Its
     contribution statute provides, in relevant part:
                   § 8322. Definition.
                   As used in this subchapter “joint tort-feasors” means two or more persons jointly or
                   severally liable in tort for the same injury to persons or property, whether or not
                   judgment has been recovered against all or some of them.
                   § 8324. Right of contribution.
                   (a) General rule.—The right of contribution exists among joint tort-feasors.
                   (b) Payment required.—A joint tort-feasor is not entitled to a money judgment for
                       contribution until he has by payment discharged the common liability or has paid
                       more than his pro rata share thereof.
      42 PA. CONS. STAT. § 8322, 8324.
8    Minnesota recognizes a common law contribution claim, but has not codified the law. See In re Individual 35w Bridge
     Litig., 786 N.W.2d 890, 894 (Minn. Ct. App. 2010) (internal citations omitted). Under Minnesota law, “[t]wo
     requirements must be met before contribution may be obtained: First, the co-tortfeasors must be under a common liability
     to the injured party. Second, the co-tortfeasors claiming contribution must have paid a disproportionate share of the
     judgment.” Id. (internal citations omitted).
9    See MICH. COMP. LAWS ANN. § 600.2925a. Michigan has codified its common law claim for contribution in Michigan
     Comparative Law § 600.2925a and provides, in relevant part:
                   (1) Except as otherwise provided in this act, when 2 or more persons become jointly or
                   severally liable in tort for the same injury to a person or property or for the same wrongful
                   death, there is a right of contribution among them even though judgment has not been
                   recovered against all or any of them.
                   (2) The right of contribution exists only in favor of a tort-feasor who has paid more than
                   his pro rata share of the common liability and his total recovery is limited to the amount
                   paid by him in excess of his pro rata share. A tort-feasor against whom contribution is
                   sought shall not be compelled to make contribution beyond his own pro rata share of the
                   entire liability.
      MICH. COMP. LAWS ANN. § 600.2925a.
10   Mar-Cone Appliance Parts Co. v. Mangan, 879 F. Supp. 2d 344, 362 (W.D.N.Y. 2012) (citing Raquet v. Braun, 681
     N.E.2d 404 (N.Y. 1997)).
11   See Mar-Cone Appliance Parts Co., 879 F. Supp. 2d at 362.

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Examiner concludes that it is likely that the Bankruptcy Court would find that an actual conflict exists
between the contribution laws of New York and the other relevant jurisdictions.12

                   b. Application Of New York Choice-Of-Law Rules

     New York’s choice-of-law rules differ depending on the nature of the claim (i.e. tort claims or
contract claims).13 With respect to tort claims, New York choice-of-law rules further differ depending
whether the underlying substantive law is “conduct-regulating” or “loss allocating.”14 Conduct
regulating law has “the prophylactic effect of governing conduct to prevent injuries from occurring.”15
Loss allocating law “prohibit[s], assign[s], or limit[s] liability after the tort occurs.”16 When a conflict
concerns a loss allocating rule, including a claim for contribution, the court applies the three-part
interest analysis rule established in Neumeier v. Kuehner17 to determine the state with the greatest
interest or concern with the specific issues raised in the litigation.18

     The first Neumeier rule requires that when the plaintiff and defendant share a common domicile,
the loss allocating rule of that state controls.19 That rule does not resolve the present conflict because
ResCap, on the one hand, and AFI, Ally Bank, and Ally Securities,20 on the other hand, are domiciled in
different states.21 In that event, the second Neumeier rule provides that if the tort occurred in a state



12   See Curley v. AMR Corp., 153 F.3d 5, 12 (2d Cir. 1998) (“Where the applicable law from each jurisdiction provides
     different substantive rules, a conflict of laws analysis is required.”). An actual conflict is present “[w]here the applicable
     law from each jurisdiction provides different substantive rules.” Id. at 12.
13   In re BP p.l.c. Derivative Litigation, 507 F. Supp. 2d 302, 307 (S.D.N.Y. 2007)
14   Padula v. Lilarn Properties Corp., 84 N.Y.2d 519, 521–22 (N.Y. 1994).
15   Id. at 552.
16   Id. (noting that loss allocating rules include contribution rules).
17   286 N.E.2d 454, 457–58 (N.Y. 1972) (applying Ontario guest statute).
18   Mar-Cone Appliance Parts Co. v. Mangan, 879 F. Supp. 2d 344, 363 (W.D.N.Y. 2012) (citing Stichting Ter Behartiging
     Van de Belangen Van Oudaandeelhouders In Het Kapitaal Van Saybolt Int’l B.V. v. Schreiber, 407 F.3d 34, 50 (2d Cir.
     2005)); see also Neumeier v. Kuehner, 286 N.E.2d 454, 457–58 (N.Y. 1972); Cooney v. Osgood Mach., 612 N.E.2d 277,
     281 (N.Y. 1993).
19   See Mar-Cone Appliance Parts Co., 879 F. Supp. 2d at 363 (citing Neumeier, 286 N.E.2d at 457–58).
20   AFI, Ally Bank, and Ally Securities are all AFI Defendants and AFI is a party to the DOJ/AG Settlement.
21   The first Neumeier rule looks to the domicile of the parties involved in the litigation. The domicile of a corporation under
     New York choice-of-law rules is the state where the corporation maintains its principal place of business. See Arakelian v.
     Omnicare, Inc., 735 F. Supp. 2d 22, 39 (S.D.N.Y. 2010) (citing DiTondo v. Meagher, 24 Misc. 3d 720 (N.Y. Sup. Ct.
     2009)); Carroll v. LeBoeuf, Lamb, Greene & MacRae, L.L.P., 392 F. Supp. 2d 621, 629, n.47 (S.D.N.Y. 2005) (citing
     Elson v. Defren, 283 A.D.2d 109, 116 (N.Y. App. Div. 2001)). The Second Circuit determines a corporation’s principal
     place of business by applying the nerve center test, which is normally where a corporation maintains its headquarters.
     See Chevron Corp. v. Donziger, 871 F. Supp. 2d 229, 243 (S.D.N.Y. 2012); Astra Oil Trading v. PRSI Trading Co. LP,
     794 F. Supp. 2d 462, 469 (S.D.N.Y. 2011); Albstein v. Six Flags Entm’t Corp., 2010 WL 4371433, *1 (S.D.N.Y. Nov. 4,
     2010).

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where one of the parties is domiciled and such state law favors its citizen, the law of the place of the tort
controls.22 If neither of the first two rules applies, the third Neumeier rule requires that the law of the
state where the tort took place apply, “‘unless it can be shown that displacing that normally applicable
rule will advance the relevant substantive law purposes without impairing the smooth working of the
multistate system or proceeding great uncertainty for litigations.’”23

     Lawsuits asserting Third-Party Claims have been filed in different state and federal courts and the
locations of the transactions subject to the Third-Party Claims vary. For the reasons discussed in
Section VIII.C.1, the Examiner has analyzed Third-Party Claims issues under New York and Second
Circuit law.24 Given this analysis and the noted difficulties in undertaking a choice-of-law analysis with
alleged torts having occurred across the United States, the Examiner has, for illustrative purposes only,
chosen to consider ResCap’s potential contribution claims under New York law.

      2. New York Contribution Law

               a. Principles Of A Contribution Cause Of Action

     Pursuant to § 1401 of New York Civil Practice Law and Rules, a claim for contribution may be
alleged by one tortfeasor against another “based on a breach of duty of a tortious nature owed either to
the plaintiff by the contributing third party or a special duty of tortious nature owed by the third party to
the defendant seeking contribution or both.”25 The critical element in allowing a tortfeasor to proceed
with a claim for contribution is that the party it seeks contribution from “must have had a part in causing
or augmenting the injury for which contribution is sought.”26 Notably, New York law does not require
that the party from whom contribution is sought be liable under the same theories of recovery, have
acted in concert with the entity seeking contribution, or owe a duty to the injured party, so long as it




22   See Benitez v. Hitachi Metals Am. Ltd., 2012 WL 3249417, at *4 (S.D.N.Y. Aug. 4, 2012) (citing Edwards v. Erie Coach
     Lines Co., 17 N.Y.3d 306 (2011); Neumeier, 286 N.E.2d 454).
23   Benitez, 2012 WL 3249417, at *4 (quoting Edwards v. Erie Coach Lines Co., 17 N.Y.3d 306 (2011)).
24   See Section VIII.C.1. The Examiner also reviews the DOJ/AG Settlement under New York contribution law because it
     settles torts that occurred in multiple states and therefore presents the same difficulties noted with respect to Third Party
     Claims.
25   Mar-Cone Appliance Parts Co. v. Mangan, 879 F. Supp. 2d 344, 368 (W.D.N.Y. 2012) (referring to N.Y. C.P.L.R. §
     1401).
26   Amusement Indus., Inc. v. Stern, 693 F. Supp. 2d 319, 324 (S.D.N.Y. 2010) (citing Raquet v. Braun, 681 N.E.2d 404
     (N.Y. 1997) (citing Nassau Roofing & Sheet Metal Co. v. Facilities Dev. Corp., 523 N.E.2d 803 (N.Y. 1988) (internal
     quotation marks omitted); accord Rosner v. Paley, 481 N.E.2d 553 (N.Y. 1985)). Note, however, that New York law
     provides that economic loss resulting from a breach of contract does not constitute “injury to property” within the
     meaning of New York’s contribution statute. See Board of Educ. of Hudson City Sch. Dist. v. Sargent, Webster,
     Crenshaw & Folley, 71 N.Y.2d 21, 26 (1987).

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owes a duty to one of the tortfeasors.27 As a result, contribution claims are not limited to joint
tortfeasors, but may be asserted against “concurrent, successive, independent, alternative, and
intentional tortfeasors.”28

     In addition, the liability need not be proportioned equally among the tortfeasors.29 Instead, the relative
degrees of fault of the tortfeasors are to be taken into consideration in determining their pro rata shares.30

     Under New York law, contribution can be pursued before an action has been brought or a judgment
has been rendered against the person from whom contribution is sought.31 However, such a claim does
not entitle a party to contribution until such party has actually paid an amount in excess of its
proportionate share of the judgment.32




27   See Silverman v. Seeling (In re Agape World, Inc.), 467 B.R. 556, 587 (Bankr. E.D.N.Y. 2012) (citing Nassau Roofing,
     523 N.E.2d 803; Perkins Eastman Architects, P.C. v. Thor Eng’rs, P.A.I, 769 F. Supp. 2d 322, 327 (S.D.N.Y. 2011))
     (applying New York contribution law in connection with a trustee’s claim for contribution); Firestone v. Berrios, 2013
     WL 297780, at *15 (E.D.N.Y. Jan. 22, 2013) (citing Trustees of Columbia Univ. v. Mitchell/Giurgola Assocs., 109
     A.D.2d 449 (N.Y. App. Div. 1985)).
28   Millennium Import, LLC v. Reed Smith LLP, 104 A.D.3d 190, 194 (N.Y. App. Div. 2013) (citing Schauer v. Joyce, 429
     N.E.2d 83 (N.Y. 1981)); see also Mar-Cone Appliance Parts, 879 F. Supp. 2d at 376 (citing Board of Educ. of Hudson
     City School Dist., 517 N.E.2d at 1364 (holding that, like Delaware law, “New York [contribution] law also requires that to
     claim contribution the predicate special duty owed to a defendant by a third-party . . . must also arise in tort so as to
     render . . . such party a ‘joint,’ ‘concurrent, successive independent alternative [or] . . . intentional tort feasor.’”).
29   See Garret v. Holiday Inns, 58 N.Y.2d 253, 258 (N.Y. 1983) (“Principles allowing apportionment among tort-feasors
     reflect the important policy that responsibility for damages to an injured person should be borne by those parties
     responsible for the injury, in proportion to their respective degrees of fault”); Kelly v. Long Is. Light Co, 286 N.E.2d 241,
     243 (N.Y. 1972) (“The rule . . . now permits apportionment of damages among joint or concurrent tort-feasors regardless
     of the degree or nature of the concurring fault . . . . The fairer rule, we believe is to distribute the loss in proportion to the
     allocable concurring fault.”).
30   See Westchester Cnty. v. Welton Becket Assocs., 102 A.D.2d 34, 47 (N.Y. App. Div. 1984) (“Each of the wrongdoers
     owes a duty to the injured party, and it is a fact question for the jury as to the degree of responsibility each wrongdoer
     must bear for causing the injury.”).
31   N.Y. C.P.L.R. § 1401 (1996); see also Tokio Marine & Nichido Fire Ins. Co., Ltd. v. Calabrese, 2013 WL 752259, at *11
     (E.D.N.Y. Feb. 26, 2013) (citing Klinger v. Dudley, 361 N.E.2d 974, 979 (N.Y. 1977) (noting that a defendant may assert
     a claim for contribution prior to the payment of any amount to the plaintiff)).
32   N.Y. C.P.L.R. § 1402 (1996); see also Andrulonis v. United States, 26 F.3d 1224, 1233 (2d Cir. 1994) (citing Klinger v.
     Dudley, 361 N.E.2d 974, 979 (N.Y. 1977)) (“Under New York law, the right to contribution does not arise in favor of the
     defendant unless and until the defendant pays the plaintiff an amount exceeding its equitable share of the primary
     judgment.”).

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                   (1) Standard Of Proof

     Under New York law, a party seeking contribution has the burden of proving that it is entitled to
contribution.33 To the extent liability is to be proportioned based on fault, the party seeking contribution
must also provide some evidence as to what proportion of the obligations falls upon each tortfeasor.34

                   (2) Statute Of Limitations

     Under New York law, the statute of limitations for contribution is six years from when the claim
accrues.35 As noted above, a claim for contribution accrues when a party pays more than its proportionate
share.36

               b. Transactions Implicated By The Contribution Causes Of Action

                   (1) Third-Party Claims

     As described in more detail in Section VIII, the Examiner has reviewed claims that have been
asserted against the Debtors, AFI, Ally Bank, and Ally Securities on account of RMBS issued by the
Debtors between 2003 and 2007.37 These claims are based upon various legal theories, including breach
of contract, fraud, negligence, and violation of state and federal securities laws. The plaintiffs are mainly
investors who purchased securities from the Debtors and monoline insurers who guaranteed principal
and interest payments to investors on account of the securities. Given the Examiner’s mandate to
determine whether the AFI Defendants have provided sufficient consideration for the Third-Party
Release, the Investigation focused primarily on the extent to which AFI, Ally Bank, and Ally Securities
might be held derivatively liable for the Debtors’ RMBS-related conduct (assuming the Debtors are
found liable for the underlying primary claims).

    In order for ResCap to be entitled to contribution from AFI, Ally Bank or Ally Securities in
connection with these claims, ResCap is required to have actually paid an amount in excess of its



33   See Silverman v. Seeling (In re Agape World, Inc.), 467 B.R. 556, 578 (Bankr. E.D.N.Y. 2012) (“[T]he party seeking
     contribution must make out all of the essential elements of a cause of action against the proposed contributor”); Figueroa
     v. Kahn, 101 Misc.2d 821, 822 (N.Y. Sup. Ct 1979).
34   See 18 AM. JUR. 2D CONTRIBUTION § 117 (2013); Charney v. Muss, 149 A.D.2d 393, 394 (N.Y. App. Div. 1989).
35   See N.Y. C.P.L.R. § 213; see also Calcutti v. SBU, Inc., 273 F. Supp. 2d 488, 497 (S.D.N.Y. 2003) (citing White v. Long,
     229 A.D. 2d 178, 182 (N.Y. App. Div. 1997); Blum v. Good Humor Corp., 57 A.D.2d 911 (N.Y. App. Div. 1977))
     (“Claims for contribution under New York law do not accrue, for statute of limitations purposes, until six years after
     payment is made on the underlying claim.”).
36   Andrulonis v. United States, 26 F.3d 1224, 1233 (2d Cir. 1994) (citing Klinger v. Dudley, 361 N.E.2d 974, 979 (N.Y.
     1977)) (“Under New York law, the right to contribution does not arise in favor of the defendant unless and until the
     defendant pays the plaintiff an amount exceeding its equitable share of the primary judgment.”).
37   See, e.g., Debtors’ Motion Pursuant to Fed. R. Bankr. P. 9019 for Approval of the RMBS Trust Settlement Agreements
     [Docket No. 320] at 3 (“The R&W Claims are the single largest set of disputed claims against the Debtors’ estates by a
     wide margin”).

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proportionate share of a judgment for liability.38 The underlying lawsuits asserting Third Party Claims
are still pending and ResCap has not been found liable pursuant to any judgment, much less paid more
than its proportionate share of any such judgment. While under New York law, ResCap may assert a
claim for contribution today, in no state (including New York) can ResCap recover from AFI, Ally
Bank, or Ally Securities unless and until ResCap has paid more than its pro rata share in those
lawsuits.39 It is therefore premature for the Examiner to undertake any substantive analysis regarding
any right to contribution that ResCap would have against AFI or Ally Bank.

                   (2) February 2012 Payment Made Pursuant to the DOJ/AG Settlement

     As described in more detail in Section V.C.1, on April 4, 2012, AFI, ResCap and GMAC Mortgage
agreed to settle a number of potential civil claims against them for conduct related to the servicing of
mortgage loans, the servicing of loans of borrowers in bankruptcy, and the origination of mortgage
loans.40 The DOJ/AG Consent Judgment provided that in return for the release of these potential claims,
ResCap, AFI, and GMAC Mortgage were required to take a number of actions, including collectively
paying $109.6 million to an escrow account of the DOJ, which would then be distributed to the states
who were parties to the DOJ/AG Settlement.41 Exhibit I of the DOJ/AG Consent Judgment specified
that ResCap, GMAC Mortgage, and RFC (and not AFI) would pay the $109.6 million hard dollar
payment and incorporated the DOJ/AG Earmark and Indemnification Agreement.42

      In order for ResCap to have a claim for contribution against AFI, ResCap must prove that: (1) AFI
had a part in causing or augmenting the injury for which contribution is sought; and (2) that ResCap
discharged more than its pro rata share of the obligation to the DOJ under the DOJ/AG Settlement. At
first glance, it would appear that ResCap could assert a contribution cause of action against AFI: AFI,
ResCap, and GMAC Mortgage were all named settling parties under the DOJ/AG Consent Judgment
and ResCap, through GMAC Mortgage, paid the entire hard cost of $109.6 million to the DOJ.43 In
38   As noted above, if ResCap is found liable solely on a breach of contract basis, it would not have a right of contribution
     against AFI. See Board of Educ. Of Hudson City School Dist. v. Sargent, Webster, Crenshaw & Folley, 71 N.Y.2d 21, 26
     (1987).
39   See N.Y. C.P.L.R. § 1402 (“The amount of contribution to which a person is entitled shall be the excess paid by him over
     and above his equitable share of the judgment recovered by the injured party; but no person shall be required to contribute
     an amount greater than his equitable share.”); 42 PA. CONS. STAT. § 8329 (“A joint tort-feasor is not entitled to a money
     judgment for contribution until he has by payment discharged the common liability or has paid more than his pro rata
     share thereof”); MICH. COMP. LAWS. SERV. § 600.2925a (“The right of contribution exists only in favor of a tort-feasor
     who has paid more than his pro rata share of the common liability and his total recovery is limited to the amount paid by
     him in excess of his pro rata share.”); In re Individual 35w Bridge Litig., 786 N.W.2d 890, 894 (Minn. Ct. App. 2010)
     (noting that a co-tortfeasor seeking contribution must have paid more than its share of the judgment before contribution
     can be obtained).
40   See Section V.C.1.d.(1).
41   DOJ/AG Consent Judgment, ¶ 3. The judgment specifically states that “Defendant” shall pay the settlement amount and
     defines “Defendant” as ResCap, AFI and GMAC Mortgage, collectively. Id. at 1.
42   DOJ/AG Consent Judgment, Ex. I, at 1-12.
43   As noted in Section V.C.1.c.(5)(b), while ResCap is expected to incur significant remediation costs in connection with the
     FRB/FDIC Consent Order, it has not yet made any payments. Any meaningful analysis of a contribution claim relating to
     these remediation costs is premature.

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exchange for ResCap’s payment, the DOJ/AG Consent Judgment released AFI and its affiliates,
including ResCap and GMAC Mortgage, from certain federal and state claims assertable by the DOJ
and state AGs.44

     While ResCap paid the entire $109.6 million owed under the DOJ/AG Settlement, AFI helped
ensure that ResCap had the funds to make the payment. As discussed in Section V.C, AFI and ResCap
entered into two agreements in anticipation of the government settlements to provide ResCap with
sufficient liquidity to make payments that would be owed. First, AFI and ResCap entered into the
January 30 Letter Agreement, pursuant to which AFI agreed to forgive secured indebtedness of $196.5
million under the A&R Line of Credit Agreement in exchange for ResCap’s payment of future cash
fines owed directly to applicable governmental authorities.45 ResCap also agreed that it would reimburse
AFI for any amounts expended in satisfying any obligation under the anticipated DOJ/AG Settlement.46
Second, on March 14, 2012, AFI and ResCap entered into the Earmark Agreement, whereby ResCap
agreed that it would use $109 million of the liquidity provided by AFI pursuant to the January 30 Letter
Agreement to make the “hard cost” payment to the DOJ.47 Without the debt forgiveness, ResCap would
have been unable to pay the $109 million owed under the DOJ/AG Settlement.48

     Assuming ResCap can demonstrate that AFI had a part in causing or augmenting the underlying
injury that was settled pursuant to the DOJ/AG Settlement, it would still need to prove that ResCap
discharged all or greater than its share of the joint obligation for the benefit of AFI. Such analysis would
need to take into account value provided by AFI pursuant to the January 30 Letter Agreement and the
Earmark Agreement. ResCap would bear the burden of proving the proper allocation of liability
between ResCap and AFI.

     As described in Section V.C.1.f, it appears that sometime in mid-February 2012, ResCap’s and
AFI’s accounting departments determined that a 92%/8% allocation contained in a press release relating
to the FRB/FDIC Settlement would govern how costs relating to all of the government settlements were
to be allocated between ResCap and AFI.49 This allocation was used to allocate costs of the DOJ/AG
Settlement between ResCap and AFI, apparently without considering or making any effort to take into
account the allegations that were actually being settled in the DOJ/AG Settlement.50 The DOJ/AG
44   DOJ/AG Consent Judgment, ¶¶ 9–10, Ex. G,H. The consideration set forth in the DOJ/AG Consent Judgment for this
     release also includes $200 million in consumer relief that was ultimately provided by ResCap and its subsidiaries.
     Pursuant to the terms set forth in Ex. I of the DOJ/AG Consent Judgment, AFI agreed to provide this $200 million in
     consumer relief to the extent that ResCap, GMAC Mortgage, and RFC did not perform such obligations. Id. Ex. I, ¶ 3.
45   See Section V.C.2.a.
46   See Section V.C.2.a.
47   See Section V.C.1.d(3).
48   See Section V.C.1.d(3).
49   See Section V.C.1.f(4).
50   According to Marano, the FRB/FDIC Settlement and the DOJ/AG Settlement were perceived as involving separate
     criteria. Int. of T. Marano, Feb. 27, 2013, at 23:1–24:12 (noting that the FRB used different criteria than the DOJ in
     evaluating the settlements and that the FRB criteria involved a separate examination resulting in the identification of 15
     statutory violations, 11 of which were attributable to ResCap and 4 of which were attributable to AFI).

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Settlement itself does not include any allocation of fault between AFI and ResCap. As discussed in
Section V.C.1, the allocation of costs for the DOJ/AG Settlement between AFI and ResCap was
ultimately based on the division contained in the FRB press release.

      The Examiner is unable to conclude whether another allocation of fault between AFI and ResCap
relating to the DOJ/AG Settlement would be more appropriate and, therefore, whether a contribution
claim asserted by ResCap would prevail. The burden of proof to the extent ResCap believes that AFI
should bear a greater percentage of the costs will rest with ResCap.

     As discussed above, however, AFI did forgive debt and provide liquidity to ResCap so that it could
pay the settlement amount. In addition, as noted in Section V.C.6, it is undisputed that ResCap and its
subsidiaries, as the mortgage servicers, were responsible for the significant portion of the actionable
issues that were the subject of the DOJ/AG Settlement.51




51   See Section V.C.4.

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